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                                             July 20, 2022
VIA ECF
Honorable Renee Marie Bumb, U.S.D.J.
U.S. District Court for the District of New Jersey
Mitchel H. Cohen Bldg. & U.S. Courthouse
4th & Cooper Streets
Camden, New Jersey 08101

        Re:      Bristol-Myers Squibb Company v. Accord Healthcare, Inc.
                 Case No. 1:22-cv-3743 (RMB/MJS)

Dear Judge Bumb:

        This firm, together with Kirkland & Ellis, LLP, represents Plaintiff Bristol-Myers Squibb
Company (“BMS”) in the above-referenced matter. On behalf of BMS and Defendant Accord
Healthcare, Inc., the parties hereby submit a Stipulation and Proposed Order of Dismissal. If the
Stipulation and Proposed Order is acceptable to the Court, the parties respectfully request that
Your Honor “So Order” the Stipulation and Proposed Order, have it entered on the docket and
direct the Clerk of the Court to close the matter.

      As always, we thank the Court for its attention to this matter and are available should Your
Honor or Your Honor’s staff have any questions regarding the within.

                                             Respectfully submitted,

                                             /s/Liza M. Walsh

                                             Liza M. Walsh

cc: All Counsel of Record (via ECF and email)

Enclosures.
